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                         NUMBER 13-14-00042-CV

      COURT OF APPEALS

      THIRTEENTH DISTRICT OF TEXAS

      CORPUS CHRISTI - EDINBURG
____________________________________________________

Lee Ann Cholopisa,     Appellant,

      v.

Roy William Cholopisa, Appellee.
____________________________________________________

      On appeal from the 87th District Court
      of Limestone County, Texas.
____________________________________________________

      ORDER REFERRING CASE TO MEDIATION

      The Court has determined that this case  should  be  referred  to
mediation prior to briefing. [1]  Tex. Civ.  Prac.  &amp;  Rem.  Code  Ann.
§§154.001-.073 (Vernon 2005).  Accordingly, it  is  ORDERED  that  this
case be mediated under the following terms and conditions:

      1.  The parties must promptly agree upon a mediator  and,  within
      seven days of this Order, notify the Court in writing of the name
      and address of the mediator selected.  If the parties are  unable
      to agree upon a mediator, they must so notify  the  Court  within
      the seven day period and the Court will appoint a mediator.



      2.  All parties must confer with their mediator within seven days
      of the date of this Order, or in the case of  a  court  appointed
      mediator, within seven days of the appointment of  the  mediator,
      to establish a date and place for  the  mediation.   The  parties
      shall agree on a date for the mediation that is  consistent  with
      the mediator’s schedule and is no later than six weeks after  the
      date of this Order.  In the event the parties cannot agree  on  a
      date, the mediator shall select and set  a  date.   The  mediator
      shall notify the Court of the date selected for the mediation.

      3.  In the discretion of the mediator, each party may be required
      to provide a confidential  memorandum  and/or  information  sheet
      setting forth the issues of the case and their positions on these
      issues.  Additionally, upon request of the mediator, the  parties
      shall produce all information the  mediator  deems  necessary  to
      understand the  issues  of  the  case.    The  memorandum  and/or
      information sheet and other information produced to the  mediator
      will not be made a part of the file in  this  case  and  will  be
      destroyed by the mediator at  the  conclusion  of  the  mediation
      proceeding.

      4.   All   parties   to   this   matter   or   their   authorized
      representatives, accompanied by their counsel,  must  appear  and
      attend the mediation proceeding.

      5.  Mediation is a mandatory, non-binding  settlement  conference
      conducted with the  assistance  of  a  mediator.   The  mediation
      proceeding will be confidential within the meaning of  the  Texas
      Civil Practice and Remedies Code sections  154.053  and  154.073.
      See Tex. Civ. Prac. &amp; Rem. Code Ann. §§154.053-.073 (West 2011).

      6.  Unless otherwise agreed, the mediation proceeding will not be
      recorded.

      7.  The  mediator  will  negotiate  a  reasonable  fee  with  the
      parties.  The mediator’s fee will be borne equally by the parties
      unless otherwise agreed by the parties, and will be paid directly
      to the mediator.  If the  parties  do  not  agree  upon  the  fee
      requested by the mediator, the Court will set a  reasonable  fee,
      which shall be taxed as costs.  Tex. Civ. Prac. &amp; Rem. Code  Ann.
      §154.054 (West 2011).

      8.  Within two days after the conclusion of  the  mediation,  the
      mediator shall certify to this Court as follows:  (a) whether the
      parties appeared as ordered, (b) whether the  case  settled,  and
      (c) whether the mediation fees were paid in accordance  with  the
      Court’s order or as otherwise agreed by the parties.

      9.  If mediation fully resolves the  issues  in  this  case,  the
      parties must file a joint or agreed  motion  seeking  dispositive
      relief, within seven days of the conclusion of the mediation.  If
      the parties need  more  time  to  effectuate  the  terms  of  the
      settlement  agreement,  they  must  within  seven  days  of   the
      conclusion of mediation, file a joint or  agreed  motion  for  an
      extension of time to file their disposition motion.


      It is FURTHER ORDERED that this appeal will be stayed  until  the
completion of the mediation.

      WITNESS the Honorable Rogelio Valdez, Chief Justice of the  Court
of Appeals, 13th  Court  of  Appeals  District,  at  Corpus  Christi  -
Edinburg, Texas.

      GIVEN UNDER MY HAND AND SEAL OF SAID COURT,  at  my  office  this
14th day of March, 2014.

                                       DORIAN E. RAMIREZ, CLERK
                                       Thirteenth Court of Appeals







-----------------------
[1] This case is before the Court on transfer from the Tenth  Court  of
Appeals in Waco pursuant to a docket equalization order issued  by  the
Supreme Court of Texas.  See  TEX.  GOV'T  CODE  ANN.  §  73.001  (West
2005).

